                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


 UNITED STATES OF AMERICA,


                     Plaintiff,

         v.                                            Case No. 1:21-cv-796-RP

 THE STATE OF TEXAS,


                     Defendant.


         UNITED STATES’ RESPONSE TO INTERVENORS’ MOTION FOR
       RECONSIDERATION OF ORDER REGARDING HEARING (ECF NO. 49)
        Intervenors Erick Graham, Jeff Tuley, and Mistie Sharp (“Intervenors”) move the Court to

reconsider its September 28 order (ECF No. 41) setting the ground rules for tomorrow’s preliminary

injunction hearing. See ECF No. 49. Specifically, Intervenors ask that this Court amend its order to

permit Intervenors the opportunity to cross-examine third-party witnesses not scheduled to testify at

tomorrow’s hearing and who Intervenors have not yet served with subpoenas. Id. Intervenors further

indicate that they wish to present medical testimony from an unidentified expert witness as well as “1-

2 additional” unnamed fact witnesses who will purportedly give testimony in response to the third-
party declarants. Id. ¶ 5. The Court should deny Intervenors’ request for at least four reasons.

        First, Intervenors had ample opportunity to introduce factual evidence from their unidentified

witnesses through declarations submitted alongside their brief. See ECF No. 44 (“Intervenors’ Br.”).

They submitted none. Id. Intervenors offer no explanation for their failure to avail themselves of this

opportunity to introduce factual evidence, nor does their motion explain why such declarations could

not adequately serve to rebut the (unidentified) factual disputes Intervenors purport to raise. Even if

such affidavits would not have permitted Intervenors to raise factual issues to their full satisfaction,

such affidavits would at least have permitted the Court to evaluate whether material factual disputes



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exist at all. Instead, Intervenors now ask the Court to permit them to put their own unidentified

witnesses on the stand and to cross-examine third-party witnesses, all without bothering to explain

who these witnesses are or what factual disputes they will purportedly address.

        Second, the Court permitted Intervenors to participate in the case “to raise only those facts and

arguments not already put forth by the parties.” ECF No. 40 at 2. But the Court will be hard-pressed

to find such unique facts and arguments in Intervenors’ brief, which largely echoes the arguments

made by Texas. Compare ECF No. 43 (“Texas Br.”) at 22-30 (arguing U.S. has no cause of action) with

Intervenors’ Br. at 2-9 (same); Texas Br. at 6-17 (raising arguments with respect to scope of injunctive

relief) with Intervenors’ Br. at 9-16 (same); Texas Br. at 38-44 (arguing S.B. 8 is not preempted by

federal law) with Intervenors’ Br. (same); Texas Br. 44-54 (addressing remaining preliminary injunction

factors) with Intervenors’ Br. at 18-21 (same). Further still, Intervenors’ me-too brief offers nothing

but legal argumentation already raised by Texas and does not identify any factual disputes to be resolved

at the hearing. See generally Intervenors’ Br. While Intervenors vaguely allege that “evidence . . . sug-

gests the opposite,” id. at 18, of what the United States and third-parties have shown through their

declarations, they fail to offer any description of what their evidence consists of or what aspects of the

United States’ evidence it purportedly contradicts. Intervenors had every opportunity to introduce

affidavits with evidence from these mystery witnesses alongside their brief. They failed to do so.

        Third, and relatedly, Texas’s willingness to forgo live testimony and cross-examination under-

cuts the Intervenors’ purported need, particularly since Intervenors’ brief presents only duplicative

legal arguments to those raised by Texas. Intervenors do not explain why their arguments require live

witnesses while Texas’s carbon-copy arguments do not. While Intervenors’ motion asserts that the

unidentified evidence they seek to introduce “is different from what the State presented in its oppo-

sition brief,” ECF no. 49 ¶ 8, they fail to explain how. They similarly argue that this “underscores”

that Texas does not represent the Intervenors’ interests, id., but that assertion is implausible in view

of the nearly identical arguments that both Texas and the Intervenors present.

        Fourth, the three declarants that Intervenors wish to cross-examine—Gilbert, Hagstrom Miller,

and Linton—are located more than 100 miles from Austin and are not agents of the United States.


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Compelling their attendance at tomorrow’s hearing would therefore require that they be subpoenaed

under Rule 45(c)(1)(B)(ii). But Intervenors have not yet served such subpoenas on these third-party

declarants, and such declarants would likely have ample grounds for moving to quash under Rule

45(c)(3), including at least “fail[ing] to allow a reasonable time to comply” and “requir[ing] a person

to comply beyond the geographical limits specified in Rule 45(c).” Fed. R. Civ. P. 45(c)(4)(A)(i), (ii).

Intervenors have simply not made a sufficient showing—any showing—that compelling the presence

of these third parties is necessary.

        Against all this, Intervenors repeatedly claim that they will be denied an adequate opportunity

to be heard on various factual issues without obtaining their preferred format for tomorrow’s hearing.

See ECF No. 49 ¶¶ 8-12. But Intervenors make no showing at all about (1) what these factual issues are;

(2) what specific factual assertions from Plaintiff are disputed; (3) what contravening or impeachment

evidence Intervenors plan to introduce against the third-party declarants; (4) what testimony Interve-

nors’ witnesses plan to offer to dispute the declarants’ testimony; (5) who the witnesses even are and

what relevant factual or expert evidence they possess; (6) the materiality of any factual dispute to the

disposition of this preliminary hearing; and (7) why any contravening evidence could not have been

introduced through affidavits submitted alongside their brief. Intervenors simply ask the Court to

accept their unsubstantiated assertions that there are factual disputes. That is not enough. As their

own lead case explains, only “where factual disputes are presented” must “the parties be given a fair

opportunity and meaningful hearing to present their differing versions of those facts before a prelim-

inary injunction may be granted.” Com. Park at DFW Freeport v. Mardian Const. Co., 729 F.2d 334, 341

(5th Cir. 1984) (emphasis in original) (explaining that hearings are not required “in the absence of

disputed factual issues”); see also PCI Transp., Inc. v. Fort Worth & W. R. Co., 418 F.3d 535, 546 (5th Cir.

2005) (concluding that party’s “failure to establish the existence of a factual dispute . . . made a hearing

unnecessary”). Intervenors have not identified any factual dispute, never mind one material to the

motion for a preliminary injunction for which additional live testimony is the only available solution.




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        Even so, Intervenors will have a full and fair opportunity to be heard at tomorrow’s hearing

and—had they introduced any countervailing factual testimony alongside their brief—could have pre-

sented factual arguments to the Court alongside the legal arguments in their brief. Cf. Kaepa, Inc. v.

Achilles Corp., 76 F.3d 624, 628 (5th Cir. 1996) (holding district courts are not even required to hold

oral hearings where no factual dispute is involved). Their complaint, at bottom, is that they are not

able to introduce their unidentified, un-briefed factual arguments through live testimony rather than

written testimony. But that complaint rings hollow in view of their choice not to include affidavits

alongside their brief and their failure to raise any identifiable factual arguments in either their brief or

motion for reconsideration—never mind an argument that Texas is not already pursuing. The Court

therefore should deny Intervenors’ request to rearrange tomorrow’s hearing to their preferred format.

E.g., Fed. Sav. & Loan Ins. Corp. v. Dixon, 835 F.2d 554, 559 (5th Cir. 1987).

                                            CONCLUSION

        For these reasons, the Court should deny Intervenors’ motion for reconsideration.




Date: September 30, 2021                                  Respectfully submitted,

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